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                                          #:50477



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                          CENTRAL DISTRICT OF CALIFORNIA
17
                                    WESTERN DIVISION
18
19    JENNY LISETTE FLORES, et al.,                Case No. 2:85-cv-04544-DMG
20
                   Plaintiffs,                     NOTICE FILING CBP JUVENILE
21
                                                   COORDINATOR INTERIM
22          v.                                     REPORT PER COURT ORDER,
23                                                 ECF NO. 1458
       MERRICK B. GARLAND, Attorney
24     General of the United States, et al.,       Hon. Dolly M. Gee
25
                   Defendants.
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1            In accordance with the Court’s Order, ECF No. 1458, attached hereto for the
2      Court’s consideration, please find the Interim Report from Mr. Henry A. Moak, Jr.,
3      the Juvenile Coordinator for U.S. Customs and Border Protection (Attachment A).
4
5      DATED: September 6, 2024             Respectfully submitted,
6
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13                                          /s/ Fizza Batool
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                                           #:50479



1                                  CERTIFICATE OF SERVICE
2            I certify that on September 6, 2024, I served a copy of the foregoing pleading
3      and attachment on all counsel of record by means of the District Court’s CM/ECF
4      electronic filing system.
5
6                                            /s/ Fizza Batool
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                                             Trial Attorney
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